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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION
                                                   §
 JAWBONE INNOVATIONS, LLC,                         §     Case No. 6:21-cv-00984-ADA
                                                   §
                                Plaintiff,         §     JURY TRIAL DEMANDED
                                                   §
            v.                                     §
                                                   §
 APPLE INC.,                                       §
                                                   §
                                Defendant.         §
                                                   §


                                JOINT MOTION TO DISMISS

       Pursuant to Fed. R. Civ. P. 41(a)(2), Plaintiff Jawbone Innovations, LLC (“Jawbone” or

“Plaintiff”) and Defendant Apple Inc. (“Apple” or “Defendant”) (collectively, the “Parties”),

represented by their attorneys, hereby stipulate and agree as follows:

       The Parties have settled their respective claims for relief asserted in this litigation.

Accordingly, the Parties respectfully request that all claims for relief asserted against Apple by

Jawbone are dismissed with prejudice, and the Parties further request that all attorneys’ fees, costs

of court, and expenses be borne by each Party incurring the same.

       So agreed and stipulated.

       A proposed order is attached.

Dated: December 23, 2022                      Respectfully submitted,

                                               /s/ Peter Lambrianakos
                                              Raymond W. Mort, III
                                              Texas State Bar No. 00791308
                                              Email: raymort@austinlaw.com
                                              THE MORT LAW FIRM, PLLC
                                              100 Congress Avenue, Suite 2000
                                              Austin, Texas 78701
                                              Tel/Fax: 512-865-7950
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                            OF COUNSEL:

                            Alfred R. Fabricant (Pro Hac Vice to be filed)
                            NY Bar No. 2219392
                            Email: ffabricant@fabricantllp.com
                            Peter Lambrianakos (Admitted Pro Hac Vice)
                            NY Bar No. 2894392
                            Email: plambrianakos@fabricantllp.com
                            Vincent J. Rubino, III (Pro Hac Vice to be filed)
                            NY Bar No. 4557435
                            Email: vrubino@fabricantllp.com
                            Richard M. Cowell (Admitted Pro Hac Vice)
                            NY Bar No. 4617759
                            Email: rcowell@fabricantllp.com
                            FABRICANT LLP
                            411 Theodore Fremd Avenue, Suite 206 South
                            Rye, New York 10580
                            Telephone: (212) 257-5797
                            Facsimile: (212) 257-5796

                            ATTORNEYS FOR PLAINTIFF
                            JAWBONE INNOVATIONS, LLC




                             /s/ Ricardo J. Bonilla (with permission)
                            J. Stephen Ravel Texas
                            State Bar No. 16584975
                            KELLY HART & HALLMAN LLP
                            303 Colorado, Suite 2000
                            Austin, Texas 78701
                            Tel: (512) 495-6429
                            Email: steve.ravel@kellyhart.com

                            Ricardo J. Bonilla
                            Texas Bar No. 24082704
                            rbonilla@fr.com
                            FISH & RICHARDSON P.C.
                            1717 Main Street, Suite 5000
                            Dallas, Texas 75201
                            (214) 747-5070 – Telephone
                            (214) 747-2091 – Facsimile




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                            Benjamin C. Elacqua
                            Texas Bar No. 24055443
                            elacqua@fr.com
                            FISH & RICHARDSON P.C.
                            1221 McKinney Street, Suite 2800
                            Houston, Texas 77010
                            (713) 654-5300 – Telephone
                            (713) 652-0109 – Facsimile

                            Betty H. Chen
                            Texas Bar No. 24056720
                            bchen@fr.com
                            FISH & RICHARDSON P.C.
                            500 Arguello Street, Suite 500
                            Redwood City, CA 94063
                            (650) 839-5067 – Telephone
                            (650) 839-5071 - Facsimile

                            ATTORNEYS FOR DEFENDANT
                            APPLE INC.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 23, 2022, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send notification of such filing via electronic

mail to all counsel of record.


                                             /s/ Peter Lambrianakos
                                                 Peter Lambrianakos
